Case 2:16-cr-00631-DAK-P|\/|W Document 1 Filed 11/22/16 Page 1 of 4

ED nv uN:TED s"rAT '
C URt D)srmct iii §§me

JoHN W. HUBER, Unired states Aaomey (#7226) NOV 2 2 2916
vERNoN G. sTEJsKAL, Assisrant nuith states Aaomey (#3434)BYD- MARK JoNEs, cLEHK
Attorneys for the United States of Amerioa miqu CLERK ’

111 South Main Street, Suite 1800

Salt Lal<e City, Utah 84111

Telephone: (801)~52`4-5682

 

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

 

UNITED sTATEs oF AMERICA, Case NO. '?_r l lpwj 567 ~ D BP
Plaintiff, COMPLAINT
vs. . Possession of Fentanyl With Intent to
Distribute

AARON MICHAEL SHAMO,

Defendant. Magistrate Judge Dustin B. Pead

 

 

Before Dustin B. Pead, United States Magistrate Judge for the Distriot of Utah,

appears the undersigned, Who on oath deposes and says:
COUNT 1
On or about November 22, 2016, in the Central Division of the District of Utah,
AARON MICI-IAEL SHAMO,

the named defendant herein, did knowingly and intentionally possess With intent to
distribute Fentanyl, a Schedule ll controlled substance, Within the meaning of
21 U.S.C. § 812; all in violation of21 U.S.C. §841(a)(1), and punishable pursuant to 21

U.s.C. §841(b)(1)(c).

 

Case 2:16-cr-00631-DAK-P|\/|W Document 1 Filed 11/22/16 Page 2 of 4

Complainant states that this complaint is based on information obtained through

an investigation consisting of the following:

1 .

v Complainant is a South Jordan Police Officer currently assigned to the
Drug Enforcement Administration l\/letropolitan Narcotics Tasl< Force
(DEAMNT-F) as a narcotics investigator Complainant is familiar with the
facts and circumstances alleged in this complaint
On November 22, 2016, agents and officers executed a search warrant at
the home of Aaron l\/lichael SHAMO, at 7939 Titian Street in Cottonwood
Heights, Utah-.

Inside the home officers located what appears to be more than
approximately 70,000 pills that have the appearance of oxycodone, and
more than approximately 25,000 pills that have the appearance of
Alprazolam, a/k/a Xanax. Both Oxycodone and Alprazolam are Schedule
II controlled substances

Agents also located a pill press and bulk powdery substances that appeared
to be ready to be pressed into pill form.

Based on a prior investigation spanning several months, agents have reason
to believe that the powdery substance was Fentanyl. Agents also have
reason to believe that the pills having the appearance of oxycodone actually
contain the Schedule ll controlled substance Fentanyl. lt is believed that the

press was used to create the pills using the powdery substances. Due to the

2

Case 2:16-cr-00631-DAK-P|\/|W Document 1 Filed 11/22/16 Page 3 of 4

extreme dangerousness of Fentanyl, agents have not yet been able to test
the substances seized at the Sl-IAl\/[O home on November 22, 2016. A
Hazardous Materials team is on the scene and is safely processing the home
and the seized items.

SHAl\/[O is known to have employed several individuals over the last year
to accept shipments of packages from China at their residences These
individuals would deliver the packages to SHAMO without opening them
or inspecting the contents

Within the last few months, law enforcement agents were able to seize
several of the packages that were shipped to these individuals from China.
One package was tested by a crime lab, and was found to contain 120
grams of Fentanyl. Other packages intended for SHAMO were similarly
labeled, and the contents had a similar appearance.

Based on the prior testing and the appearance of the seized items, agents
believe that the pills having the appearance of oxycodone which were
seized on November 22, 2016 contain the Schedule ll controlled substance
Fentanyl.

Agents also located and seized packaging materials from the SHAMO
home on November 22. Based on the prior investigation, agents know that
SHAMO packages the pills in numerous smaller packages and distributes

them by shipping them to various addresses around the United States using

v,

\.

Case 2:16-cr-00631-DAK-P|\/|W Document 1 Filed 11/22/16 Page 4 of 4

the United States Postal Service or other package delivery services.

 

 

Task Force Officer
Drug Enforcement Administration
APPROVED:

JOHN W. HUBER
Un»i d St tes-<§t ey

VERNON G. STEJSKAL
Assistant` United States Att_orney

 

SUBSCRIBED AND SWORN TO BEFORE ME this 22nd day of November,
2016. . `

 

 

Uni_ id St tes agistrate Judge

 

